
644 S.E.2d 365 (2007)
STATE of North Carolina
v.
Eric Christopher HALL.
No. 245A06.
Supreme Court of North Carolina.
March 8, 2007.
Daniel R. Pollitt, Assistant Appellate Defender, for Eric Christopher Hall.
*366 Robert K. Smith, Assistant Attorney General, Ben David, District Attorney, for State of NC.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 8th day of May 2006 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 8th day of March 2007."
Justice HUDSON recused.
